                          IN THE UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

 CHARLES ALLEN,                              )
                                             )
            Plaintiff,                       )      Case No. 15-CV-07702
                                             )
 v.                                          )
                                             )      Judge Charles P. Kocoras
 CITY OF CHICAGO, KENHASA                    )
 MARTIN et. al.                              )
                                             )
            Defendants.                      )



PLAINTIFF’S MEMORANDUM IN OPPOSITION TO DEFENDANTS’ MOTION FOR
                  PARTIAL SUMMARY JUDGMENT

       Plaintiff, by counsel, submits the following memorandum of law in opposition to

Defendants’ Motion for Partial Summary Judgment:

                                     LEGAL STANDARD

       Defendants are entitled to summary judgment only if there is no genuine issue of material

fact and if they are entitled to judgment as a matter of law. Harney v. Speedway SuperAmerica,

LLC, 526 F.3d 1099, 1103-04 (7th Cir. 2008). “In evaluating a motion for summary judgment, a

court should draw all reasonable inferences from undisputed facts in favor of the nonmoving

party and should view the disputed evidence in the light most favorable to the nonmoving party.”

Id. To overcome a motion for summary judgment, the non-moving party need only offer enough

evidence such that a “jury could reasonably find for the nonmoving party.” Walker v. Sheahan,

526 F.3d 973, 977 (7th Cir. 2008).
                                  ARGUMENT

                              A. The Defendants have proffered sham affidavits in

                                  order to bolster a claim for their motion for

                                  summary judgment

       “It is well established that a party cannot create a genuine issue of material fact by

submitting an affidavit containing conclusory allegations which contradict plain admissions in

prior deposition or otherwise sworn testimony. Bank of Illinois v. Allied Signal Safety Restraint

Systems, 75 F.3d 1162, 1169 (7th Cir. 1996). “We are mindful that, in light of the jury’s role in

resolving questions of credibility, other circuits have cautioned that this rule ought to be applied

with great caution.” Id. The court explained by quoting another circuit:

        “The purpose of summary judgment is to separate real, genuine issues from those which

are formal or pretended. To allow every failure of memory or variation in a witness’s testimony

to be disregarded as a sham would require far too much from lay witnesses and would deprive

the trier of fact of the traditional opportunity to determine which point in time and with which

words the witness (in this case, the affiant) was stating the truth. Id. Variations in a witness’s

testimony and any failure of memory throughout the course of discovery create an issue of

credibility as to which part of the testimony should be given the greatest weight if credited at all.

Issues concerning the credibility of witnesses and weight of the evidence are questions of fact

which require resolution by the trier of fact.” Bank of Illinois, 75 F.3d at 1170.

       As a result of balancing these competing considerations, the Seventh Circuit has allowed

a party to avoid summary judgment through a statement that contradicts an earlier sworn

statement in a limited number of circumstances. Id. at 1171. A subsequent affidavit may be

allowed to clarify ambiguous or confusing testimony. Id. A contradictory supplemental
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affidavit is also permissible if it is based on newly discovered evidence. Id. at 1172. In Adelman-

Tremblay v. Jewel Companies, Inc. 859 F.2d 517, 520 (7th Cir. 1988), the Court said: “Because

there was no newly discovered evidence and the plaintiff had not lacked access to material facts-

two compelling reasons for which courts will allow plaintiffs to contradict prior sworn testimony

to avoid summary judgment-the district court held that Dr. Hogan's supplemental affidavit could

not be used to create a factual issue.”

       The Defendants have presented thirteen affidavits to support their Partial Motion for

Summary Judgment. Out of those thirteen, three were the reporting officers, Kenhasa Martin,

Steven Davis and Angela Cowart-Smith who already were deposed regarding the issues

presented in their affidavits. This City is directly attempting to contradict their testimony,

namely, that anyone actually saw Mr. Allen get treated by emergency ambulance personnel when

the deposition testimony and the ambulance personnel report and testimony state the opposite. In

fact the ambulance report (Exhibit 13 submitted by the Defendants) states the complete opposite

as it states “no EMS needed, handled by CPD Beat 631R”. In fact, for the City to argue that the

ambulance personnel pulled out the taser prongs is a complete fabrication, and at a minimum,

evidence of a material fact.

       Two Defendant Officer affidavits state as follows: 1) “…it was my understanding that the

paramedics had already seen Plaintiff” upon responding to the scene (Eric Medina affidavit-Ex.

7), and 2) “it was my understanding that the paramedics has already treated Plaintiff” upon

responding to the scene (Daniel Corral affidavit-Ex. 30). It is interesting to note that none of

these statements contained within the affidavits demonstrates personal knowledge: none of them

aver they “saw” anything nor does it state they spoke to anyone who saw Plaintiff Allen get


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treated by ambulance personnel at the scene. Both of these affidavits provide no personal

knowledge of anything and should be discarded for any summary judgment analysis.

        Officer Kenhasa Martin’s affidavit states that he “saw paramedics respond to the scene

and interact with Plaintiff”, that it “was his understanding that the paramedics were providing

Plaintiff treatment because he had been tasered” and the “paramedics removed the taser probes”.

(Kenhasa Martin affidavit-Ex. 15). Again, in one part of his affidavit he uses the word “saw” and

then later states “paramedics removed the taser probes.” He does not aver that he saw this occur.

This distinction is important especially since he has already been deposed and even in his sham

affidavit he cannot state definitely he saw this.

        In fact, Office Steven Davis testified that in regards to the incident in question he did not

know which side of the car he approached when taking Mr. Allen there in his custody, did not

know which side he was on when trying to get him into the car itself, he did not know who

opened the vehicle door where they tried to push him into the car, did not know if Mr. Allen

kicked him or if he made contact. (See Steven Davis deposition transcript-Ex. 5, p. 163, lines 22-

25, p. 164, lines 1-4).

        Officer Davis does not know how Mr. Allen was taken to the ground, if Officer Kenhasa

Martin took him to the ground with a takedown maneuver, and does not know if he himself tased

Mr. Allen when he was already on the ground. What is consistent about Officer’s Davis’

testimony is its inconsistency. (See Steven Davis deposition transcript-Ex. 5, p. 183, lines 17-25,

p. 184, lines 4-5, p. 184, lines).

        Last, Mr. Davis lied in a criminal bench trial on September 10, 2003 when he testified

and conspired with other City of Chicago Police officers to accuse a criminal defendant Michael

Piazza of disorderly conduct and resisting arrest. Not only was the Defendant Michael Piazza
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found not guilty but the Court made a finding that “the videotape paints an entirely different

picture than what the police officers did testify to.” What the officers testified to, including Mr.

Piazza, who was later sued civilly, was that Michael Piazza resisted arrest, struggled, disobeyed

police orders, talked back and the like. Absolutely none of that occurred. Mr. Davis lied under

oath and also injured Mr. Piazza. (See attached September 10, 2003 trial transcript, pages 180-

181, attached as Exhibit 31).

                                B. PLAINTIFF MEDICAL TREATMENT CLAIMS

       Plaintiff’s medical treatment claim is measured by the objective reasonableness standard

of the Fourth Amendment.

                        Fourth Amendment claims “are evaluated for objective

                reasonableness based upon the information the officers had when the

                conduct occurred.” Saucier v. Katz, 533 U.S. 194, 207 (2001). This ex

                ante test does not consider “the officer’s motive or whether any injury

                inflicted was severe.” Lester v. City of Chicago, 830 F.2d 706, 712 (7th

                Cir. 1987). This Court does not require any showing of physical injury

                in Eighth and Fourteenth Amendment cases. Moreover, even if plaintiff

                is unable to show physical injury from a violation of the Fourth

                Amendment, he is still entitled to seek damages for emotional distress

                as well as nominal damages for the violation of his rights. Either award

                would entitle plaintiff to also seek punitive damages for defendants’

                outrageous conduct in ignoring plaintiff’s obvious need for medical care




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              C. Fourth Amendment Reasonableness
                 Turns on the Facts Known to the
                 Officer when the Conduct Occurred

       It is well established that Fourth Amendment claims “are

evaluated for objective reasonableness based upon the information the

officers had when the conduct occurred.” Saucier v. Katz, 533 U.S. 194,

207 (2001). This ex ante test does not consider, for example, whether a

police officer’s unreasonable conduct turns up contraband because “a

search is not to be made legal by what it turns up,” United States v. Di

Re, 332 U.S. 581, 595 (1948). The same is true for arrests: “the fact that

the officer later discovers additional evidence unknown to her at the

time of the arrest is irrelevant as to whether probable cause existed at

the crucial time.” Smith v. Ball State Univ., 295 F.3d 763, 769–70

(7th Cir. 2002), quoting from Qian v. Kautz, 168 F.3d 949, 954

(7th Cir. 1999).


       This Court first applied Fourth Amendment reasonableness to

the conditions of confinement of an arrestee in Lester v. City of Chicago,

830 F.2d 706 (7th Cir. 1987). There, the arrestee contended that the

constitutionality of the use of force by police officers should be judged

by Fourth Amendment reasonableness. This Court agreed:

       If, under the totality of circumstances, a police officer
       unreasonably seizes a person by using excessive force,
       he has violated that person’s Fourth Amendment rights.
       The objectively unreasonable seizure itself (regardless of
       the officer’s motive or whether any injury inflicted was
       severe) crosses the constitutional threshold.
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Id. at 712 (emphasis supplied). The Court reiterated that “[t]he Fourth

Amendment protects against unreasonable seizures, not seizures that

‘shock the conscience’ or cause ‘severe injuries.’” Id.


       The Court applied the Fourth Amendment to an arrestee’s

claimed medical needs in Sides v. City of Champaign, 496 F.3d 820, 828

(7th Cir. 2007). There, the Court rejected the “deliberate indifference”

standard urged by the parties. 2 Id. at 827-28. Instead, the Court applied

the Fourth Amendment reasonableness standard and considered

whether the facts known to the arresting officers “portended heat stroke

or implied a need for medical attention.” Id. at 828. Nothing in Sides

involved whether the arrestee suffered harm because of the lack of

medical attention. The Court properly focused on whether the officers’

conduct was reasonable based on the facts known to them. Id. The Court

followed Sides in Williams v. Rodriguez, 509 F.3d 392 (7th Cir. 2007).

The arrestee in that case litigated his medical care claim under the

Fourteenth Amendment; the Court held that “Williams has waived any

Fourth Amendment claim by failing to amend or supplementis motion

for summary judgment or raise the issue on appeal.” Id. at 403.

Nonetheless, the Court discussed four factors that had been “implicitly

identified” in Sides:

       The first is that the officer be given notice of the
       arrestee’s medical need, whether by word as occurred in

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        Sides, or through observation of the arrestee’s physical
        symptoms. [Sides v. City of Champaign, 496 F.3d 820,
        823, 828 (7th Cir. 2007).] Second, the court in Sides
        considered the seriousness of the medical need, in that
        case noting that the plaintiff’s complaints were not
        accompanied by any physical symptoms. Id. at 828. The
        severity of the medical condition under this standard
        need not, on its own, rise to the level of objective
        seriousness required under the Eighth and Fourteenth
        Amendment. Instead, the Fourth Amendment’s
        reasonableness analysis operates on a sliding scale,
        balancing the seriousness of the medical need with the
        third factor—the scope of the requested treatment. In
        Sides for example, the court noted that the plaintiff was
        partially responsible for his lengthy detention outdoors,
        since he insisted that the officers not charge him at all,
        rather than requesting that the officers take him to the
        station house or write him a citation immediately. Id.
        Finally, police interests also factor into the
        reasonableness determination. This factor is wide-
        ranging in scope and can include administrative,
        penological, or investigatory concerns. Sides reflected
        the latter of these interests, with the court emphasizing
        the importance of an on- site investigation and noting
        that the officers did not prolong the plaintiff’s detention
        once this investigation was completed. Id. Again, we
        offer no opinion as to whether defendants’ conduct
        violated Williams’s Fourth Amendment rights under this
        multi-factor analysis, but for the reasons discussed
        above, Williams has failed to meet the higher burden of
        showing that Officer Rodriguez was deliberately
        indifferent to an objectively serious medical condition.

Id. at 403. Notably absent from these four factors is any suggestion of

the rule adopted by the district court, that the Fourth Amendment

requires that the arrestee suffered harm because of the lack of medical

attention.

        The Court elevated the four Williams factors to a holding in

Sallenger v. City of Springfield, 630 F.3d 499 (7th Cir. 2010). There, the

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district court concluded on summary judgment that plaintiff could not

show that “the officers’ response to Sallenger’s medical needs was

unreasonable.” Id. at 504. That case involved a “dangerous physical

ordeal to subdue and restrain Sallenger.” Id. The summary judgment

record established “that as soon as the officers realized Sallenger was

unconscious, they removed the hobble, began CPR, and summoned an

ambulance.” Id. The Court, applying the appropriate Fourth

Amendment ex ante analysis, did not include in its reasonableness

calculus that Sallenger died because of the incident. Instead, the Court

focused only on the reasonableness of “the officers’ response to

Sallenger’s medical needs.” Id.

       The Court again applied the four Williams factors in Florek v.

Vill. of Mundelein, 649 F.3d 594 (7th Cir. 2011), when it observed that

“[r]easonableness in light of the totality of the circumstances remains

the constitutional touchstone in this realm.” Id. at 599. The crucial

question in Florek was whether the officers were “on notice of a serious

medical condition.” Id. at 600. The Court in Florek also added a fifth

factor: “the sufficiency of the steps that the officers did take.” Id.

Nothing in Florek supports the additional factor applied by the district

court in this case: whether the officers’ unreasonable conduct caused

“significant injury.”

       The Court also applied the four Williams factors in Ortiz v. City

of Chicago, 656 F.3d 523 (7th Cir. 2011). Ortiz involved an in-custody
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death, where the plaintiff sought to introduce expert medical testimony

that the officers’ inaction resulted in the death. In reversing the district

court’s order excluding the proposed expert testimony, the Court wrote

that plaintiff “must present evidence sufficient to permit a jury to infer

that the defendants’ failure to act was a source of harm for Molina.” Id.

at 534.

          The Ortiz court reached this conclusion by relying on Eighth and

Fourteenth Amendment deliberate indifference cases. 656 F.3d at 535.

At least one of these cases is inconsistent with the Supreme Court’s

subsequent decision in Wilkins v. Gaddy, 559 U.S. 34, 36 (2010).

Another of these cases, Gayton v. McCoy, 593 F.3d 610 (7th Cir. 2010),

described as follows a pre-trial detainee’s burden to show harm in

violation of the Fourteenth Amendment’s Due Process Clause for

failure to provide medical care:


          [T]he constitutional deprivation at issue is a failure to
          provide Taylor with due process in the form of adequate
          medical treatment; the plaintiff need not prove that Nurse
          Hibbert’s inaction necessarily led to Taylor’s death, but
          rather that her suffering was exacerbated by Nurse
          Hibbert’s failure to provide her with adequate medical
          care. Gayton v. McCoy, 593 F.3d 610, 625 (7th Cir.
          2010). The Court applied similar reasoning in Williams
          v. Liefer, 491 F.3d 710 (7th Cir. 2007), a case where
          prison officers ignored the complaints of a penitentiary
          inmate about chest pain. In applying the appropriate
          Eighth Amendment standard, the Court held that the
          prisoner was required to present “verifying medical
          evidence” that a delay in treatment had caused harm. Id.
          at 715. The Court applied this “verifying medical
          evidence” requirement to the claim of a pre-trial detainee
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       in Grieveson v. Anderson, 538 F.3d 763 (7th Cir. 2008)
       that he had experienced unnecessary pain because of a
       delay in providing medical treatment.
       Only one of the cases on which the Court relied in Ortiz for

requiring an arrestee to show actual harm involved a pre-trial detainee.

his health for no good reason” constituted deliberate indifference. Id. at

928. The Court did not include in its analysis that the arrestee died

because the defendants had deprived him of his morning shot of insulin.

Id.

        The Court has not required physical injury in Eighth and

Fourteenth Amendment cases. For example, in Calhoun v. DeTella, 319

F.3d 936 (7th Cir. 2003), a prisoner complained about a strip search;

this Court reversed the grant of summary judgment, concluding that the

Eighth Amendment prohibited prison guards from conducting a “strip

search in a manner designed to demean and humiliate.” Id. at 940. The

Court applied this rule in Mays v. Springborn, 575 F.3d 643 (7th Cir.

2009), upholding a prisoner’s claim that strip-searches had been

“conducted in a harassing manner intended to humiliate and cause

psychological pain.” Id. at 650. The Court did not in either Calhoun or

Mays require the plaintiff to prove actual humiliation or psychological

pain; it was enough that the searches were “designed to demean and

humiliate,” as in Calhoun, or “intended to humiliate and cause

psychological pan,” as in Mays

       The Court explained this line of authority in Thomas v. Illinois,

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697 F.3d 612 (7th Cir. 2012) as applying the doctrine of “probabilistic

harm” Id. at 615. There, the prisoner complained about “living in a small

cell infested with mice and cockroaches.” Id. The Court held that these

conditions could create a “compensable hazard even if the prisoner

plaintiff had been lucky and escaped disease and had had sufficient

psychological fortitude (or ignorance) to avoid suffering mental distress

whether from knowledge that he might become seriously ill as a

consequence of the conditions in his cell or from sheer disgust.” Id. at

615-16.

       In addition to compensatory damages for “probabilistic harm,”

a person, like plaintiff, whose constitutional rights have been violated is

entitled to damages for “a violation of rights.” Redding v. Fairman, 717

F.2d 1105, 1119 (7th Cir. 1983) (explaining the rationale for nominal

damages). This Court “long ago decided that, at a minimum, a plaintiff

who proves a constitutional violation is entitled to nominal damages.”

Calhoun v. DeTella, 319 F.3d 936, 941 (7th Cir. 2003).

       Moreover, plaintiff should have been permitted to show the jury

that he “actually suffered distress” because of the violation of his Fourth

Amendment rights. Carey v. Piphus, 435 U.S. 247, 263 (1978)

(recognizing emotional distress damages for denial of procedural due

process). See, e g., Alston v. King, 231 F.3d 383, 386 (7th Cir. 2000)

(plaintiff “may still obtain damages for emotional distress attributable

to the deficiencies in procedure if the employee can convince the trier
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of fact that the distress is attributable to the denial of procedural due

process itself rather than to the justified termination”).

       Plaintiff should have been entitled to ask the jury to compensate

him for the distress he felt when defendants ignored his obvious need

for medical attention. Plaintiff’s distress is similar to the “credible

dignitary harm” the Court recognized in Mulvania v. Sheriff of Rock

Island County, 850 F.3d 849 (7th Cir. 2017), where arrestees were

required to wear “white underwear or no underwear at all” while in

custody of the detention facility. Id. at 851.

       Finally, “nothing prevents an award of punitive damages for

constitutional violations when compensatory damages are not

available.” Calhoun v. DeTella, 319 F.3d 936, 942 (7th Cir. 2003). This

Court has consistently held that a civil rights plaintiff may recover

punitive damages “even in the absence of actual loss to the plaintiff.”

Spence v. Staras, 507 F.2d 554, 558 (7th Cir. 1974); Endicott v.

Huddleston, 644 F.2d 1208, 1217 (7th Cir. 1980). The Supreme Court

endorsed this rule in Exxon Shipping Co. v. Baker, 554 U.S. 471, 494

(2008), where it approvingly cited 4 Restatement (Second) of Torts §

908, Comment c, p. 465 for the proposition that “an award of nominal

damages ... is enough to support a further awardof punitive damages,

when a tort ... is committed for an outrageous purpose.”




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                              D. DEFENDANTS ARE NOT ENTITLED TO QUALIFIED
                                  IMMUNITY
         Defendants are not entitled to qualified immunity. The doctrine of qualified immunity

protects government officials “from liability for civil damages insofar as their conduct does not

violate clearly established statutory or constitutional rights of which a reasonable person would

have known.” Harlow v. Fitzgerald, 457 U.S. 800, 818 (1982). However, government officials

such as police officers are not protected by qualified immunity if their conduct violates clearly

established constitutional or statutory rights of which a reasonable person would have been

aware. Id. In analyzing a claim of qualified immunity, the “court must decide (1) whether the

facts alleged or shown by the plaintiff make out a violation of a constitutional right, and (2) if so,

whether that right was ‘clearly established’ at the time of the defendant’s alleged misconduct.

Pearson v. Callahan, 555 U.S. 223, 223-24 (2009). Here, there is a genuine issue of material

fact, as argued above, as to whether Defendants held an objectively reasonable belief that they

were in imminent danger and in fact Officer Steven Davis stated he did not believe he was in

danger-he was 6’4” and 280 pounds and Plaintiff was 6’1”, 160 pounds.

                                             CONCLUSION

         For the foregoing reasons, Defendants’ motion should be denied and this case should be

tried to a jury.

                                               Respectfully Submitted,

                                       By:     /s/ Timothy J. Deffet
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